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               IN THE UNITED STATES DISTRICT COURT FOR THE

                        WESTERN DISTRICT OF OKLAHOMA


NORMA J. ROBINSON,                           )
                                             )
                            Plaintiff        )
                                             )
              vs.                            )           No. CIV-04-1267-C
                                             )
JO ANNE B. BARNHART,                         )
Commissioner of Social Security              )
Administration,                              )
                                             )
                            Defendant        )


              ORDER ADOPTING REPORT AND RECOMMENDATION


       This action for final review of the Commissioner’s denial of disability insurance

benefits was referred for initial proceedings to United States Magistrate Judge Doyle W.

Argo consistent with 28 U.S.C. § 636(b)(1)(B). Judge Argo entered his Report and

Recommendation on November 4, 2005, recommending that the decision of the

Commissioner be affirmed. Plaintiff has timely filed an objection, and, at the Court’s

direction, Defendant has responded thereto. See LCvR72.1(b). The Court therefore

considers the matter de novo.

       Plaintiff’s objection raises the same two issues raised and fully briefed before Judge

Argo. The first is that the Administrative Law Judge (ALJ) disregarded the opinion of the

treating physician when formulating the residual functional capacity. The first objection is

rejected, for the reasons stated in the Report and Recommendation.
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       The second objection, that the ALJ did not adequately discuss his credibility findings,

is more troublesome. In Hardman v. Barnhart, 362 F.3d 676 (10th Cir. 2004), the Tenth

Circuit emphasized its earlier case law requiring more than a boilerplate recitation of the

factors in the regulations and mandating the findings “‘should be closely and affirmatively

linked to substantial evidence and not just a conclusion in the guise of findings.’” Id. at 678-

89 (quoting Kepler v. Chater, 68 F.3d 387, 391 (10th Cir. 1995)). The ALJ’s finding, at first

blush, appears to be just such a boilerplate recitation. However, in his earlier findings, he

comments on the reasons that physical findings and objective test results do not support

Plaintiff’s allegations. Moreover, Plaintiff fails to specify, in her objection, what evidence,

if any, supports a contrary result. Thus, in contrast to Hardman, in this case the Court is able

to find support in the record for the ALJ’s conclusions regarding credibility.

       Accordingly, the Court adopts the Report and Recommendation of the Magistrate

Judge in its entirety, and, for the reasons stated therein, the decision of the Commissioner is

affirmed. A judgment will enter accordingly.

       IT IS SO ORDERED this 12th day of January, 2006.




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